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   1   SERVICES GARDEN GROVE, LLC;
       PRIME HEALTHCARE               Complaint Filed: June 23, 2016
   2   HUNTINGTON BEACH, LLC; PRIME
       HEALTHCARE LA PALMA, LLC;      Trial Date: November 26, 2018
   3   DESERT VALLEY HOSPITAL, INC.;
       PRIME HEALTHCARE
   4   FOUNDATION, INC., F/K/A PHSI
       FOUNDATION, INC., F/K/A PRIME
   5   HEALTHCARE SERVICES
       FOUNDATION, INC.; PRIME
   6   HEALTHCARE MANAGEMENT,
       INC., F/K/A PRIME MANAGEMENT
   7   SERVICES, INC.; PRIME
       HEALTHCARE SERVICES ENCINO,
   8   LLC; VERITAS HEALTH SERVICES,
       INC.; PRIME HEALTHCARE
   9   SERVICES MONTCLAIR LLC; PRIME
       HEALTHCARE PARADISE VALLEY,
  10   LLC; PRIME HEALTHCARE
       SERVICES SAN DIMAS, LLC; PRIME
  11   HEALTHCARE SERVICES SHASTA,
       LLC; PRIME HEALTHCARE
  12   SERVICES - SHERMAN OAKS, LLC;
       PRIME HEALTHCARE ANAHEIM,
  13   LLC; and DR. PREM REDDY,
  14                       Defendants.
  15

  16

  17         This is an action brought by Plaintiff/Relator Karin Berntsen on behalf of the

  18   United States of America pursuant to the Federal False Claims Act, 31 U.S.C. §

  19   3729, et seq. In support thereof, Relator alleges as follows:

  20                                             I.

  21                                     INTRODUCTION

  22         1.     Defendants (collectively referred to as “PHS,” “Prime,” or

  23   “Defendants”) have defrauded the federal government of millions of dollars by

  24   billing for medically unnecessary inpatient short stay admissions which should have

  25   been classified as outpatient/observation cases. PHS’s behavior is particularly

  26   egregious because in an effort to receive greater reimbursement from Medicare and

  27   other government healthcare programs, PHS has explicitly instructed its physicians

  28   and hospital staff to disregard the Medicare guidelines and to choose inpatient
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   1   admission over outpatient/observation status in almost every instance, regardless of
   2   whether the criteria for inpatient admission has been satisfied.
   3          2.     PHS also wrongfully increases the MS-DRG payments it receives from
   4   Medicare through upcoding by falsifying information concerning the complications
   5   and comorbidities associated with patients’ diagnoses.
   6          3.     In addition, PHS unlawfully refuses to discharge patients who are
   7   eligible to be transferred for post-acute care.
   8          4.     As a result, PHS compromises the well-being of its patients and
   9   fraudulently increases its payments from Medicare and other government healthcare
  10   programs.
  11                                                 II.
  12                              JURISDICTION AND VENUE
  13          5.     This action arises under the False Claims Act, 31 U.S.C. §§ 3729 –
  14   3732. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331, 28
  15   U.S.C. § 1345 and 31 U.S.C. § 3732(a), which specifically confers jurisdiction on
  16   this Court for actions brought under 31 U.S.C. § 3730.
  17          6.     This Court has personal jurisdiction over Defendants pursuant to 31
  18   U.S.C. § 3732(a), which authorizes nationwide service of process, because at least
  19   one of the Defendants can be found in, resides in, transacts business in and has
  20   committed the alleged acts in the Central District of California.
  21          7.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)-(c)
  22   and 31 U.S.C. § 3732(a) because at least one of the Defendants can be found in,
  23   resides in and transacts business in the Central District of California, and many of
  24   the alleged acts occurred in this District.
  25          8.     Relator is an original source as defined by the False Claims Act in 31
  26   U.S.C. § 3730(e)(4)(B) and Relator has made voluntary disclosures to the United
  27   States prior to the filing of this lawsuit.
  28
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   1                                            III.
   2                                        PARTIES
   3         9.     Relator Karin Berntsen has been employed at Defendant Alvarado
   4   Hospital—first as the Director of Quality and Risk Management and then as the
   5   Director of Case Management. In February 2013, she became the Director of
   6   Performance Improvement (PI). Relator is a registered nurse with more than
   7   twenty-years of experience in healthcare leadership and patient care positions. She
   8   has published two books regarding patient safety matters. From 2003 to 2005, she
   9   was the Director of Nursing for the County of San Diego, CA.
  10         10.    The Prime healthcare system comprises a variety of private corporate
  11   entities that are owned and controlled by defendant Prem Reddy, M.D. (Reddy)
  12   and/or trusts established for the benefit of Reddy and his family, including
  13   defendant Prime Healthcare Services, Inc. (PHS), defendant Prime Healthcare
  14   Foundation, Inc., f/k/a PHSI Foundation, Inc., f/k/a Prime Healthcare Services
  15   Foundation, Inc. (Foundation), defendant Prime Healthcare Management, Inc., f/k/a
  16   Prime Management Services, Inc. (Management Company), and individual
  17   hospitals throughout the United States. PHS is a for-profit California corporation
  18   founded by Reddy in or around 2001. The Foundation is a not-for-profit California
  19   corporation founded by Reddy in or around 2007. Both entities are incorporated in
  20   Delaware and located at 3300 East Guasti Road, Ontario, California, 91761. At all
  21   times relevant to this action, Reddy was the Chairman, President, and Chief
  22   Executive Officer of PHS and the Foundation. The Management Company is a for-
  23   profit California corporation founded by Reddy in or around 2004. Like PHS and
  24   the Foundation, it is incorporated in Delaware and located at 3300 East Guasti
  25   Road, Ontario, California, 91761. At all times relevant to this action, Reddy was
  26   the President of the Management Company, which provides management,
  27   consulting, and support services to hospitals owned and operated by PHS and the
  28   Foundation. PHS began its strategy of acquiring hospitals in financial distress
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   1   with its 2004 purchase of Chino Valley Medical Center, which was in Chapter 11
   2   bankruptcy. PHS incorporates a model of educating doctors in the financial aspects
   3   of medicine to change distressed hospitals into financially stable businesses.
   4   Through its wholly-owned subsidiaries, Prime now owns and operates fourteen
   5   hospitals in the state of California. The Defendant hospitals are:
   6            a. Alvarado Hospital Medical Center, located in San Diego, CA –
   7                Alvarado Hospital, LLC
   8            b. Centinela Hospital Medical Center, located in Inglewood, CA – Prime
   9                Healthcare Centinela, LLC
  10            c. Chino Valley Medical Center, located in Chino, CA – Veritas Health
  11                Services, Inc.
  12            d. Desert Valley Hospital, located in Victorville, CA – Desert Valley
  13                Hospital, Inc.
  14            e. Encino Hospital Medical Center, located in Encino, CA – Prime
  15                Healthcare Services Foundation, Inc. and Prime Healthcare Services
  16                Encino, LLC
  17            f. Garden Grove Hospital Medical Center, located in Garden Grove, CA
  18                – Prime Healthcare Services Garden Grove, LLC
  19            g. Huntington Beach Hospital, located in Huntington Beach, CA – Prime
  20                Healthcare Huntington Beach, LLC
  21            h. La Palma Intercommunity Hospital, located in La Palma, CA – Prime
  22                Healthcare La Palma, LLC
  23            i. Montclair Hospital Medical Center, located in Montclair, CA –
  24                formerly Prime Healthcare Services III, LLC; presently Prime
  25                Healthcare Services Foundation, Inc. and Prime Healthcare Services
  26                Montclair, LLC
  27            j. Paradise Valley Hospital, located in National City, CA – Prime
  28                Healthcare Paradise Valley, LLC
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                                                                            FIFTH AMENDED COMPLAINT
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   1               k. San Dimas Community Hospital, located in San Dimas, CA – Prime
   2                  Healthcare Services San Dimas, LLC
   3               l. Shasta Regional Medical Center, located in Redding, CA – Prime
   4                  Healthcare Services Shasta, LLC
   5               m. Sherman Oaks Hospital, located in Sherman Oaks, CA – Prime
   6                  Healthcare Services – Sherman Oaks, LLC
   7               n. West Anaheim Medical Center, located in Anaheim, CA – Prime
   8                  Healthcare Anaheim, LLC
   9         11.      Prime Healthcare Services Foundation, Inc., d/b/a Encino Hospital
  10   Medical Center and Montclair Hospital Medical Center, (“PHSF”) is a Delaware
  11   corporation with its primary place of business at 3300 East Guasti Road, 2nd Floor,
  12   Ontario, California, 91761. A wholly owned and operated subsidiary of PHS,
  13   PHSF was founded by a $1 million donation from Dr. Prem Reddy. Encino
  14   Hospital Medical Center and Montclair Hospital Medical Center were donated to
  15   PHSF by PHS in 2009 and 2011, respectively. PHSF is a 501(c)(3) charitable
  16   organization.
  17         12.      Defendant Prime Healthcare Foundation, Inc., f/k/a PHSI Foundation,
  18   Inc., f/k/a Prime Healthcare Services Foundation, Inc. (Foundation)is an entity
  19   affiliated with Reddy and PHS. PHS has transferred ownership to the Foundation
  20   of certain hospitals that it owned. The Foundation currently owns and operates four
  21   acute care hospitals in California (Sherman Oaks, Montclair, Huntington Beach,
  22   and Encino) that are part of the Prime healthcare system. .
  23         13.      Dr. Prem Reddy is the founder and Chairman of the Board of Prime
  24   Healthcare Services, Inc. Reddy actively oversees the acquisition and restructuring
  25   of all new hospitals acquired by PHS, including implementing uniform protocols at
  26   all PHS facilities.
  27         14.      Dr. Luis Leon is the regional CEO for Alvarado Hospital Medical
  28   Center and Paradise Valley Hospital. Leon was made regional CEO after the
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                                                                            FIFTH AMENDED COMPLAINT
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   1   former CEO of Alvarado Hospital Medical Center resigned when the hospital was
   2   acquired by PHS.
   3                                             IV.
   4                              REGULATORY OVERVIEW
   5   A.    Inpatient Short Stay Hospital Admissions
   6         15.      In an effort to combat Medicare fraud and abuse, The Centers for
   7   Medicare and Medicaid Services (CMS) has increased scrutiny of the medical
   8   necessity for short-stay inpatient hospital admissions. Due to the greater
   9   reimbursement for inpatient services versus observation services, the Government
  10   requires strict adherence to inpatient admission rules.
  11         16.      Chapter 6, Section 6.5.2 of the Medicare Program Integrity Manual
  12   states that,
  13
           Inpatient hospital care must be medically necessary, reasonable, and
           appropriate for the diagnosis and condition of the beneficiary at any time
  14       during the stay. The beneficiary must demonstrate signs and/or symptoms
  15
           severe enough to warrant the need for medical care and must receive
           services of such intensity that they can be furnished safely and effectively
  16       only on an inpatient basis.
  17   It further provides that “factors that may result in an inconvenience to a beneficiary
  18   or family do not, by themselves, justify inpatient admission.” Id. Inpatient care is
  19   only required if the beneficiary’s medical condition, safety, or health would be
  20   significantly and directly threatened if care were to be provided in a less intensive
  21   setting. Id.
  22         17.      Chapter 1, Section 10 of the Medicare Benefit Policy Manual sets forth
  23   the following factors that should be considered by the physician when deciding
  24   whether to admit a patient as an inpatient: the severity of the signs and symptoms
  25   exhibited by the patient; the medical predictability of something adverse happening
  26   to the patient; the need for diagnostic studies that appropriately are outpatient
  27   services; and the availability of diagnostic procedures at the time.
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                                                   7
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   1         18.    Short stay hospital stays have not only appeared on the OIG Work
   2   Plan but have also been a focus of Medicare’s Program for Evaluating Payment
   3   Patterns Electronic Reports (PEPPER reports). Many hospitals use decision
   4   support system tools such as InterQual to assist them in the inpatient admission
   5   versus outpatient/observation status decision making process.
   6         19.    Hospitals are reimbursed by Medicare for the services they provide to
   7   inpatients on the basis of diagnosis related groups (DRGs) and to outpatients on the
   8   basis of Ambulatory Payment Classifications (APCs). On average, Medicare pays
   9   approximately $4,500 to $5,000 more for a DRG than for an APC with its bundled
  10   observation fee.
  11   B.    Utilization Review is a Federally Mandated Requirement for Hospitals
  12         20.    Hospitals must have in effect a Utilization Review (UR) plan that
  13   provides for review of services furnished by the institution and by members of the
  14   medical staff to patients entitled to benefits under the Medicare and Medicaid
  15   programs. The UR plan must provide for review for Medicare and Medicaid
  16   patients with respect to the medical necessity of (i) admissions to the institution; (ii)
  17   the duration of stays; and (iii) professional services furnished, including drugs and
  18   biological. 42 CFR § 482.30.
  19   C.    Medical Severity – Diagnostic Related Groups under the Medicare
  20         Inpatient Prospective Payment System
  21         21.    Hospitals such as the PHS Defendants are reimbursed for their
  22   inpatient services under the Medicare Inpatient Prospective Payment System
  23   (IPPS). Under this system, the ICD-9 Procedure Code and the ICD-9 Diagnostic
  24   Code (and in some cases age, sex and demographics) determine the appropriate
  25   MS-DRG classification. ICD-9 procedures will typically be grouped to a MS-DRG
  26   classification which indicates: with major complications and comorbidities (MCC);
  27   with complications and comorbidities (CC); or without complications and
  28   comorbidities (without CC/MCC).
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   1         22.      Complications and Comorbidities typically increase the reimbursement
   2   rate for an MS-DRG. Thus, patients’ complications and comorbidities must be
   3   accurately recorded in order to ensure that the hospital is appropriately reimbursed
   4   by Medicare.
   5   D.    Duty to Report and Return Overpayments from Medicare
   6         23.      The Medicare and Medicaid program integrity provisions, 42 U.S.C. §
   7   1320a-7k(d), state as follows:
   8         (d) Reporting and returning of overpayments
   9               (1) In general
  10                  If a person has received an overpayment, the person shall –
  11                   (A) report and return the overpayment to the Secretary, the State, an
  12         intermediary, a carrier, or a contractor, as appropriate, at the correct address;
  13         and
  14                   (B) notify the Secretary, State, intermediary, carrier, or contractor to
  15         whom the overpayment was returned in writing of the reason for the
  16         overpayment.
  17               (2) Deadline for reporting and returning overpayments
  18                  An overpayment must be reported and returned under paragraph (1) by
  19         the later of --
  20                   (A) the date which is 60 days after the date on which the
  21         overpayment was identified; or
  22                   (B) the date any corresponding cost report is due, if applicable.
  23               (3) Enforcement
  24                  Any overpayment retained by a person after the deadline for reporting
  25         and returning the overpayment under paragraph (2) is an obligation (as
  26         defined in section 3729(b)(3) of title 31) for purposes of section 3729 of such
  27         title.
  28
                                                    9
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   1                                              V.
   2                             FACTUAL ALLEGATIONS
   3   A.    False Claims Act violations resulting from improper inpatient hospital
   4         admissions and fraudulent claims for DRG payments based on upcoding
   5         24.    In November 2010, Defendant Prime Healthcare Services purchased
   6   Alvarado Hospital. Subsequent to the purchase, Alvarado’s entire executive team,
   7   including the CEO Harris Koenig, resigned and Dr. Luis Leon was installed as the
   8   Regional CEO overseeing Alvarado Hospital. PHS’s Chairman of the Board is Dr.
   9   Prem Reddy whose medical specialties are internal medicine and cardiology.
  10         25.    Approximately seventy-percent of Alvarado Hospital’s patients are
  11   covered by Medicare and other federal healthcare programs. Approximately
  12   twenty-percent are covered by Medicaid. The vast majority of Alvarado’s patients
  13   are initially treated at the hospital’s emergency room where a determination is made
  14   by attending physicians as to whether the patient should be placed under
  15   observation or admitted as an inpatient.
  16         26.    Prior to PHS’s takeover of Alvarado, Relator, as the Director of
  17   Quality and Risk Management, in conjunction with the then in-place executive
  18   team, implemented a number of controls to preclude abuse of Medicare regulations
  19   regarding short stay inpatient hospital stays. These controls augmented the
  20   McKesson Company, InterQual decision support computer program then in use at
  21   Alvarado. Statistical reviews conducted subsequent to the implementation of
  22   Relator’s procedures confirmed Alvarado’s one-day stay admissions were well
  23   within accepted norms.
  24         27.    In December 2010, after the takeover by PHS, a meeting was held
  25   during which the former Chief Operating Officer, Darlene Wetton, informed the
  26   Medical Staff Department of Medicine Committee that PHS does not do
  27   observation, but admits all patients as inpatients. Thomas Young, MD the
  28   immediate past chief of the Department of Medicine conveyed to Ms. Wetton that
                                                  10
                                                                           FIFTH AMENDED COMPLAINT
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   1   he strongly disagreed with PHS’s directive not to use observation status and that he
   2   personally would continue to identify observation patients when appropriate. Ms.
   3   Wetton resigned before the end of January 2011.
   4         28.    Also discussed at the December 2010 meeting were the new chest pain
   5   pre-printed order sets. After the takeover, PHS replaced the chest pain order forms
   6   currently in use at Alvarado with new forms that no longer included a check-off to
   7   select observation status as an option for site of service. The Medical Executive
   8   Committee in a memo dated December 8, 2010 to the Alvarado Hospital Governing
   9   Board (of which Dr. Prem Reddy was the Chairman) made a formal request to
  10   restore a check-off for observation to the new order sets. Despite this request, the
  11   check-off for observation was not added back on to the forms. The memo also
  12   stated that these “new order sets are used throughout the Prime Healthcare system.”
  13   The “Forms Fast” system is the name of the computer system used by PHS to
  14   generate forms for all of the hospitals it owns and operates.
  15         29.    In January 2011, more than 250 employees, including most of
  16   Alvarado Hospital’s Quality and Risk Management Department staff were
  17   dismissed by PHS. At about the same time, Dr. Reddy implemented a monthly
  18   Hospitalist Meeting attended by the senior and high-volume admitting physicians as
  19   well as key administrators. The first such meeting was convened on February 1,
  20   2011 at which time Dr. Reddy startled those present by stating, “We don’t do
  21   observation. All patients should be inpatient. You can always find a reason to
  22   make the patient an inpatient.”
  23         30.    Dr. Reddy reiterated his instructions concerning inpatient admissions
  24   at subsequent Hospitalist meetings attended by Relator, including a meeting on
  25   May 3, 2011 at which he also encouraged those present to upcode by adding
  26   complications or comorbidities such as encephalopathy and fecal impaction to a
  27   diagnosis in order to increase the DRG reimbursement rate. For example, he stated:
  28
                                                  11
                                                                             FIFTH AMENDED COMPLAINT
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   1         “If the patient is elderly, you should add encephalopathy for a higher
   2         payment. You are missing some of these elderly patients. But, be
             careful . . . I don’t want to go to jail, ha, ha, ha.”
   3

   4         “If you code fecal impaction in GI bleed diagnoses, I can get $3,000
             more per case.”
   5

   6         “If the patient leaves against medical advice you are free to document
             whatever conditions you want.”
   7
             31.    Dr. Reddy’s instructions to upcode by exaggerating complications or
   8
       comorbidities (CCs or MCCs) also resulted in increases in improper diagnoses of
   9
       conditions including, but not limited to, septicemia, malnutrition, acute heart
  10
       failure, and autonomic nerve disorders. At a December 13, 2013 meeting, detailed
  11
       infra, Reddy instructed Prime physicians and administrators to diagnose heart
  12
       failure as “acute” rather than “chronic” so that hospitals could receive higher
  13
       reimbursement amounts. Reddy specifically told Dr. Larry Emdur that “you cannot
  14
       admit a patient for chronic systolic heart failure. It has to be acute.”
  15
             32.    Within weeks of Alvarado’s purchase, the coding manager, Joseph
  16
       Ingranda resigned. Subsequent to the February 1, 2011 meeting, Relator was told
  17
       by a hospital coder, that the coder was instructed to make no coding distinction
  18
       between atrial fibrillation and atrial flutter, but rather to code at the highest paying
  19
       DRG. That coder resigned shortly thereafter as did her supervisor, Lori Cardle,
  20
       vice-president of Revenue Cycle.
  21
             33.    At the August 23, 2011 Case Management meeting, Dr. Leon
  22
       confirmed the previous statements regarding patient observation status and
  23
       specifically instructed that the Case Management Department no longer be involved
  24
       in the process of assisting with the identification of observation status and that the
  25
       use of the InterQual system to evaluate observation status be discontinued.
  26
             34.    By prohibiting the Case Managers from being involved in and from
  27
       reviewing the decisions regarding inpatient admissions, PHS was in direct violation
  28
                                                   12
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   1   of the CMS requirement that a hospital must have in effect a utilization review
   2   (UR) plan that must provide for review of Medicare and Medicaid patients with
   3   respect to the medical necessity of admissions to the institution. 42 CFR § 482.30.
   4   Prohibition of effective utilization review with regard to inpatient admissions was
   5   one of the ways in which PHS was able to carry out and intentionally disguise its
   6   fraudulent scheme of improperly admitting individuals as inpatients who did not
   7   meet medical necessity for inpatient admission as opposed to placing them in
   8   observation.
   9         35.      Prior to the August 23, 2011 Case Management meeting, Dr. Leon
  10   instructed Dr. Larry Emdur, a lead physician, to designate one out of five chest pain
  11   patients for observation status in an apparent effort to make it more difficult for
  12   auditors to detect PHS’s deliberate practice of under-identifying observation status.
  13   Nevertheless, the Program for Evaluating Payment Pattern Electronic Report
  14   (PEPPER) for Alvarado began to reflect an inordinate increase in one-day stays,
  15   respiratory infection diagnoses, septicemia infection diagnoses and other anomalies.
  16         36.      When Relator discussed her concerns regarding the observation status
  17   changes with Dr. Leon, he informed her that observation billing was his
  18   responsibility and if Medicare comes after him, he will “throw his group of lawyers
  19   at them.”
  20         37.      At a September 2, 2011 meeting called by Dr. Leon, he instructed the
  21   Emergency Department manager, Tammy Russell, to eliminate references to
  22   observation status on hospital admission forms. Later in that meeting, Ms. Russell
  23   mentioned that a new ER doctor, Donald R. Sallee identified six observation status
  24   patients on the night of September 1-2, provoking Dr. Leon to comment: “Six! Six
  25   observation patients in one night! That is not right. We should do six observation
  26   patients in one year!” He then instructed Ms. Russell to provide him the medical
  27   files of those patients and, after commenting, “These new ER doctors need to be
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   1   trained,” instructed Ms. Russell to summon Dr. Sallee to a subsequent private
   2   meeting.
   3          38.   Relator was present at several hospitalist meetings where Reddy
   4   directly and clearly instructed internal medicine physicians, known as the
   5   Emergency Associate (EA) group, to not admit chest pain patients as outpatients,
   6   but instead to find a reason to admit them as inpatients because the Medicare
   7   payments are much higher for inpatients.
   8          39.   In addition to the ER physicians, hospitalists, and case managers,
   9   Reddy also pressured the clinical documentation information specialists (CDIs) to
  10   engage in fraudulent conduct in order to increase inpatient admissions and DRG
  11   reimbursements. For example, the CDIs were trained to exaggerate patients’
  12   conditions on the query form in order to justify admitting them as inpatients or to
  13   increase the DRG reimbursements even though the information on the query form
  14   was not supported by the patients’ medical records. Due to time constraints, many
  15   physicians, especially the hospitalists, do not independently verify that the
  16   conditions on the query forms are accurate and supported by the medical records.
  17   Thus, the false information intentionally supplied by the CDIs in many instances
  18   results in medically unnecessary inpatient admissions and/or upcoding because the
  19   complications and comorbidities associated with patients’ diagnoses have been
  20   falsified.
  21          40.   As an instructional exercise regarding enhanced reimbursement coding
  22   at the September 6, 2011 Hospitalist Meeting, Dr. Reddy personally reviewed and
  23   manually altered patient records without consulting treating physicians. He
  24   thereafter handed the records to Dr. Leon who reviewed the changes. In turn, Dr.
  25   Leon handed them to Marianna Martinez, Director of Health Information Systems
  26   to effect the changes. At this same meeting, Dr. Manorama Reddy said to Dr. Prem
  27   Reddy, “We are not using observation like you told us, and almost all patients are
  28   admitted as inpatients.” Dr. Reddy nodded affirmatively to Dr. Manorama Reddy
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   1   when she made this statement.
   2         41.   On November 14, 2011 at 12:30 p.m., Relator attended a hospitalist
   3   meeting conducted by Reddy. During the meeting, Reddy reviewed patient specific
   4   information and identified numerous examples in which he thought a CC
   5   (complication or comorbidity) or an MCC (major complication or comorbidity)
   6   should have been added (even though Reddy had never seen or treated these
   7   patients). One of the cases Reddy discussed involved a patient treated by Dr.
   8   Fredrick Howden, a cardio-thoracic surgeon who was not present at the meeting.
   9   Reddy stated that “he could get $25,000 without a CC or MCC, but he could get
  10   $50,000 with a CC or MCC.” Reddy commented that due to the length of time the
  11   patient had been in the hospital “there must be a CC or MCC.” Relator was
  12   concerned by the fact that Reddy was instructing that a CC or MCC be added to
  13   increase reimbursement even though he had never identified a basis in the medical
  14   record to support the addition of a CC or MCC.
  15         42.   Also at this November meeting, Reddy told the physicians present that
  16   they “should not use syncope because it is not enough to get a DRG.” He explained
  17   that they should use another diagnosis so that the more lucrative DRG
  18   reimbursement for an inpatient admission could be received as opposed to the lesser
  19   observation outpatient reimbursement rate. He then stated that complications (CCs
  20   or MCCs) needed to be added for chest pain patients as well. Dr. Reddy continued
  21   to review records with Dr. Emdur denoting changes that could be made to those
  22   records.
  23         43.   On April 23, 2012, Relator reported her concerns about PHS’s
  24   improper practices to CFO Brian Kleven. Mr. Kleven stated that he had been at the
  25   meetings in which Reddy told the doctors not to do observation. Mr. Kleven also
  26   stated he and Relator had to support Reddy and Prime, and help cover for Dr.
  27   Reddy. Relator was dismayed at Mr. Kleven’s response to her concerns and that he
  28   had suggested helping to “cover up” Reddy’s improper practices.
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   1         44.     PHS’s fraudulent activities described above are ongoing. PHS
   2   continues to engage in upcoding, falsifying diagnoses, and improper inpatient
   3   admissions.
   4         45.     Relator estimates that PHS Alvarado’s fraudulent short-stay inpatient
   5   admission billings to government healthcare programs exceed $8 million.
   6   Considering Alvarado is a typical hospital within the PHS system and that some of
   7   those hospitals have been within the PHS system for at least six years, Relator
   8   conservatively estimates that PHS’s false billings just with regard to improper
   9   short-stay inpatient admissions alone exceeds $50 million.
  10         46.     In addition to the damages described above due to PHS’s inpatient
  11   admissions which did not meet inpatient criteria, PHS is also liable for damages due
  12   to Medicare payments it received for inpatient admissions made during the time
  13   period during which it was refusing to perform its federally mandated utilization
  14   review functions. PHS’s decision to not have an effective utilization review
  15   process as required by law tainted all of its hospitals’ inpatient admission decisions
  16   because these admissions were not subject to any form of review to ensure the
  17   medical necessity of admissions to the institution. John Marino, M.D., the Medical
  18   Director of Utilization Review, complained to hospital management regarding
  19   PHS’s practices with regard to improper inpatient admissions.
  20         47.     Alvarado Hospital continued the practice of prohibiting UR until
  21   approximately May of 2012 when CFO Brian Kleven decided that failing to
  22   perform UR functions was too risky for the hospital from a liability standpoint. Mr.
  23   Kleven was also concerned that Medicare would cease to reimburse Alvarado for
  24   inpatient admissions if Medicare learned that Alvarado was in violation of its
  25   obligation to implement an effective UR. Even though Alvarado Hospital
  26   eventually resumed UR, other PHS hospitals have continued to prohibit UR with
  27   regard to inpatient admissions. Furthermore, despite the reimplementation of UR at
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   1   Alvarado, the billing for fraudulent short-stay inpatient admissions at Alvarado
   2   continued.
   3         48.    Defendants’ fraudulent activities described above have caused the
   4   submission of false or fraudulent claims for payment which have caused monetary
   5   damages to the government. In addition, the fraudulent conduct has resulted in
   6   Defendants knowingly concealing or knowingly and improperly avoiding or
   7   decreasing an obligation to pay or transmit money or property to the Government.
   8   Defendants, due to fraudulent activities such as improper inpatient admissions,
   9   upcoding, and falsifying complications, have received overpayments from
  10   Medicare and have failed to report and return them within the time periods
  11   specified in 42 U.S.C. § 1320a-7k(d)(2).
  12   B.    Evidence of Fraud throughout Prime Healthcare System
  13         49.    Relator has specific evidence that the fraudulent activities alleged in
  14   the Complaint are occurring throughout the Prime Healthcare system, including
  15   each of the Defendant PHS hospitals.
  16         50.    As identified in this Complaint, Relator has attended numerous
  17   meetings in which Defendant Reddy has issued system-wide instructions to engage
  18   in improprieties which result in upcoding and medically unnecessary inpatient
  19   admissions. Almost every time Reddy has issued these instructions or addressed
  20   these issues, he has spoken in terms of the entire Prime healthcare system. Even
  21   when these meetings took place at Alvarado hospital, Reddy’s comments would
  22   almost never be limited to Alvarado; rather, he would emphasize that the
  23   procedures he was encouraging should be, and were being, used at the other PHS
  24   hospitals.
  25         51.    When discussing coding, billing, and other hospital procedures in the
  26   context of inpatient admissions and/or increased DRG payments, including during
  27   the meetings identified in the Complaint, Reddy has made numerous comments, in
  28   the presence of Relator, indicating that the practices are system-wide including:
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   1   “This is the way we do things at Prime” and “We don’t do observation . . . you can
   2   always find a reason to make the patient an inpatient.” Furthermore, Reddy is
   3   conducting these same meetings (especially hospitalist meetings) at the other
   4   Defendant PHS hospitals in which he specifically directs individuals to engage in
   5   conduct which causes upcoding and medically unnecessary inpatient admissions. At
   6   hospitals, such as Defendant Paradise Valley Hospital, Reddy for several years even
   7   conducted the hospitalist meetings on a weekly basis.
   8         52.    At a December 13, 2013 meeting conducted by Reddy, Relator heard
   9   Reddy state “We have in every hospital the same thing . . . We have now twenty-
  10   five hospitals testing it . . . that’s what the advantage of having that kind of
  11   information from various hospitals so somebody’s not in silo in one hospital.”
  12         53.    Relator has direct knowledge that other Prime hospitals are engaging
  13   in the same fraudulent behavior as Alvarado, not only because she has personally
  14   heard Reddy’s statements about the commonality of the practices throughout the
  15   Prime Healthcare system, but also because of her interactions (during the course of
  16   her professional responsibilities) with employees from other Prime hospitals. For
  17   example, on October 10, 2012, Relator as well as Prime case managers, clinical
  18   documentation improvement specialists (CDIs), and social workers, participated in
  19   an on-line training webinar conducted by Milliman dealing with medical necessity
  20   guidelines. Two of the participants, (Ann Davis, a social worker, and Desiree
  21   Hawkins, Director of Case Management) were representatives of the Defendant
  22   PHS hospital known as San Dimas Hospital; during the webinar, one of these
  23   individuals stated: “We don’t do observation. The higher-ups want us to admit all
  24   patients as inpatients.” None of the participants contradicted this statement.
  25         54.    Relator has also had conversations with representatives from
  26   Defendant Paradise Valley Hospital. Janice Bowman, the Director of Case
  27   Management at Paradise Valley, specifically told relator “we don’t do observation.”
  28   Neerav Jadeja, a Paradise Valley Administrator, was present at the December 13,
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   1   2013 meeting (discussed below in Section E of the Complaint) during which Reddy
   2   encouraged upcoding in order to increase MS-DRG reimbursements received by
   3   Prime.
   4         55.    Defendant Dr. Luis Leon, who is Reddy’s “right hand man,” is the
   5   CEO of both PHS’s Alvarado and Paradise Valley hospitals. Dr. Leon, as described
   6   in detail herein, has been instrumental in ensuring that Reddy’s directives are
   7   implemented in these hospitals. Dr. Leon attended the hospitalist meetings directed
   8   by Reddy himself. Dr. Leon also regularly attended the case management
   9   meetings.
  10         56.    During the course of her professional duties, Relator has also reviewed
  11   Program for Evaluating Payment Patterns Electronic Reports (PEPPER reports) for
  12   at least four Defendant PHS hospitals, including Alvarado and Paradise Valley
  13   hospitals. These PEPPER reports all demonstrated a similar trend, specifically a
  14   significant increase in one-day stay inpatient admissions after PHS took over the
  15   hospitals. These reports were also discussed at a case management committee
  16   meeting which Relator attended.
  17         57.    Evidence of Prime’s system-wide fraud also stems from the fact that
  18   several PHS hospitals contract with Emergency Medical Associates (EMA) to
  19   provide ER physicians to service Prime Healthcare’s Emergency Departments.
  20   Thus, Alvarado shares its ER doctors with other PHS hospitals including Centinela
  21   Hospital Medical Center, Chino Valley Medical Center, Encino Hospital Medical
  22   Center, Huntington Beach Hospital, La Palma Intercommunity Hospital, Montclair
  23   Hospital Medical Center, Sherman Oaks Hospital and San Dimas Community
  24   Hospital.
  25         58.    Therefore, when Relator, at several of the meetings she attended,
  26   witnessed Reddy issue instructions for ER doctors regarding the prohibition against
  27   observation services, those instructions pertained to ER doctors who practice at all
  28   of the hospitals listed above – not just Alvarado Hospital. For example, at a
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   1   September 2011 meeting, Dr. Reddy instructed Dr. Leon to inform Dr. Mark Bell
   2   (the medical director of EMA for all of the PHS hospitals contracted with EMA)
   3   that “Prime does not do observation” and that Dr. Bell should train his ER doctors
   4   to avoid observation at Prime hospitals.
   5         59.    In addition, Dr. Kevin Kelly, the medical director of EMA for
   6   Alvarado hospital, was in attendance at most of the meetings in which Dr. Reddy
   7   and/or Dr. Leon encouraged upcoding and prohibited observation. Dr. Kelly
   8   complained to Relator about Dr. Reddy’s directives to avoid using observation. At a
   9   case management committee meeting on January 24, 2012, Dr. Kelly acknowledged
  10   that “Prime corporate” had ordered him to remove “observation” from the
  11   Emergency Services-Holding Orders and that observation was no longer an option
  12   on these orders.
  13         60.    As part of her job responsibilities, Relator reviews claims before and
  14   after they are submitted and reimbursed by Medicare. The billings that she has
  15   reviewed from Alvarado are typical of billings submitted and reimbursed by the
  16   other Defendant Prime hospitals because billing for all PHS hospitals is centralized
  17   at PHS’s Ontario headquarters. In addition, Dr. Reddy personally reviews and, if
  18   necessary, modifies Medicare billings prior to submission to government healthcare
  19   programs for all of the Defendant hospitals.
  20         61.    The billing system is not the only system that is standardized
  21   throughout PHS. PHS also uses mostly the same forms for all of its hospitals. For
  22   example, the December 8, 2010 memo from the Medical Executive Committee to
  23   the Alvarado Hospital Governing Board stated that the new order sets (without the
  24   observation check-off) are “used throughout the Prime Healthcare system.” The
  25   “Forms Fast” system is the name of the computer system used by PHS to generate
  26   forms for the hospitals it owns and operates. Using forms without the observation
  27   check-off option is another method by which PHS advanced its fraudulent scheme
  28   of admitting patients when they should have been placed in observation.
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   1   Furthermore, a PHS corporate representative named Ann Abe, who was the
   2   Systems Director for the entire Prime Healthcare system, indicated that she was
   3   aware that the observation option had been eliminated from the PHS forms.
   4         62.    Another example of Prime’s use of standardized practices is evidenced
   5   in an email dated October 13, 2011 from Shirlee Meadows, Director of Admitting,
   6   which describes how earlier that year she had been instructed by April Jones, a
   7   representative from Prime corporate management, to stop presenting the Medicare
   8   Outpatient Observation Status form (OBS letter) to patients since “this is not a
   9   prime standard.” Ms. Meadows also stated, “When we went live on Forms Fast we
  10   requested that the OBS letter be put in but we were told no.”
  11         63.    Dr. Krishna P. Surapaneni, a vendor with MedWrite Biz for Defendant
  12   PHS’ hospitals, commented to Relator, “PHS does not do observations” Dr.
  13   Krishna’s comment is further evidence that Reddy has ensured that the Defendant
  14   PHS hospitals are engaging in a system-wide scheme to increase Medicare
  15   reimbursements through upcoding and fraudulent inpatient admissions.
  16         64.    As described above, Reddy has created a corporate-wide culture of
  17   fraudulent behavior which permeates all of the Defendant PHS hospitals at all
  18   levels. Reddy has pressured and trained individuals, including corporate
  19   administrators, ER physicians, hospitalist physicians, case managers, and CDIs to
  20   engage in fraud in order to increase the payments PHS receives from Medicare.
  21   Furthermore, Relator has personally witnessed Reddy engage in this behavior and
  22   has seen first-hand the harmful consequences to patients and to the Medicare
  23   program as a result of this fraud.
  24   C.    Relator is an original source under 31 U.S.C. § 3730(e)
  25         65.    Relator is an “original source” under 31 U.S.C. § 3730(e). Before the
  26   filing of this action, Relator made voluntary disclosures to the government.
  27         66.    Relator has independent, first-hand knowledge of the fraud she has
  28   alleged against all of the Defendant PHS Hospitals. As specifically addressed
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   1   throughout the Complaint and in detail in paragraphs 49-64, Relator’s personal
   2   knowledge and evidence of upcoding and fraudulent inpatient admissions is not just
   3   limited to Alvarado Hospital. Rather, she has evidence that the fraudulent conduct
   4   is occurring throughout the Prime Healthcare System. In addition, Relator, due to
   5   her professional responsibilities, has specific knowledge that PHS is submitting and
   6   causing to be submitted to Medicare false claims for payment due to upcoding and
   7   medically unnecessary inpatient admissions, and that Medicare, unaware of the
   8   fraud, has reimbursed PHS for these claims.
   9         67.    A substantial portion of Relator’s knowledge comes from meetings
  10   identified herein that she personally attended, including those in which Defendant
  11   Reddy discussed the improper protocol for inpatient admission versus observation
  12   status and methods to increase DRG reimbursements within the Prime hospital
  13   system. The information from these meetings that Relator has provided to the
  14   government was not publically disclosed at the time Relator provided the
  15   information to the government or at the time she filed her complaint.
  16         68.    In addition, in the course of her professional responsibilities, Relator
  17   has access to PHS’s billing information and daily patient census, which allows her
  18   to view patient-specific information concerning dates of admission, diagnoses,
  19   names of treating physicians, and DRG billing and reimbursement data.
  20   Furthermore, as explained above, the billing for Alvarado hospital, as well as all
  21   PHS hospitals, is uniform and centralized at PHS’s Ontario, California
  22   headquarters.
  23         69.    Relator, as detailed above, as part of her job responsibilities personally
  24   attends PHS meetings and interacts with PHS employees outside of Alvarado
  25   hospital, including PHS corporate officials. For example, on July 6, 2012, Relator
  26   traveled to PHS headquarters in Ontario, California for a corporate meeting
  27   attended by PHS corporate representatives, including Suzanne Richards (Vice–
  28   president of clinical operations) and Ann Abe (Systems Director for Prime).
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   1           70.    Relator’s personal knowledge is not limited to her experiences at
   2   Alvarado hospital. Relator is an “original source” with regard to her allegations
   3   against all of the Defendants.
   4   D.      Specific Instances of Fraudulent Inpatient Hospital Admissions
   5           71.    Relator has evidence of specific instances in which PHS has
   6   wrongfully admitted Medicare patients to the hospital as inpatients when they
   7   should have been placed under observation instead. The patients in the chart below
   8   were admitted to Alvarado Hospital as inpatients even though the medical necessity
   9   for an inpatient admission had not been satisfied. In each of these patient-specific
  10   examples, PHS unlawfully submitted claims to Medicare, which the government
  11   reimbursed. Had CMS known of the falsity of these claims, it would not have paid
  12   them.
  13

  14    Patient        Date    Inpatient       Findings          DRGs             Physician’s
                               Diagnosis                        Submitted           Initials
  15                                                              and
  16                                                           Reimbursed

  17    A            9/11/2011 Chest     12 lead ECG          392 Esoph,            LP
  18                           Pain      normal               Gast & Misc
                                         Troponins            Dig Disorder
  19                                     normal
  20    B            9/16/2011 Chest     12 lead ECG          313 Chest Pain        HT
                                 Pain    normal
  21                                     Troponins
  22                                     normal
        C            9/11/2011 Dizziness 12 lead ECG          074 Cran &            RE
  23                                     normal               oerif Nerv Dis
  24                                     CBC/Chemistry
                                         normal
  25    D            8/1/2011 Chest      12 lead ECG          313 Chest Pain        RE
  26                           Pain      normal
                                         Troponins
  27
                                         normal
  28
                                                  23
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   1         72.    Relator has evidence of several additional instances of fraudulent
   2   inpatient admissions which are not represented in the above chart but have been
   3   provided to the government in the disclosure materials.
   4   E.    Additional examples of fraudulent claims for DRG payments resulting
   5         from unlawful upcoding
   6         73.    On December 13, 2013, Relator attended a meeting conducted by
   7   Defendant Reddy where Reddy instructed Prime physicians and administrators on
   8   how to unlawfully upcode certain medical diagnoses in order to maximize Medicare
   9   reimbursement. At this meeting, Reddy explained how to change medical records
  10   of patients after the attending physicians complete their diagnoses. At no time did
  11   Defendant Reddy personally provide clinical evaluation of any of these patients. In
  12   fact, most of these patients already had been discharged from the hospital at the
  13   time their medical records were being altered.
  14         74.    At this meeting, Defendant Reddy repeatedly stated that the policy of
  15   intentionally misrepresenting diagnoses is implemented throughout all hospitals
  16   within PHS. As a result of this widespread practice of upcoding, Reddy is
  17   orchestrating the inflation of the MS-DRG weight from Non-Complicating or
  18   Comorbid Conditions to Major Complicating or Comorbid Conditions, resulting in
  19   higher weighted payments from Medicare. This illegal and systemic practice also
  20   compromises patient safety by causing unnecessary and inappropriate medical
  21   services to be performed on patients.
  22         75.    For example, Defendant Reddy instructed Prime physicians and
  23   administrators to diagnose patients with aspiration pneumonia even though a much
  24   higher percentage of pneumonia cases are healthcare acquired pneumonia.
  25   Specifically, while examining a patient’s record, Reddy stated “[T]his patient is a
  26   pneumonia patient, but when they have pneumonia in elderly, write ‘possible
  27   aspiration pneumonia.’ That is a higher weight.” Reddy then went on to criticize
  28   the treating physicians for prescribing drugs such as Vancomycin (even though
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   1   Vancomycin is the proper drug for treatment of healthcare acquired pneumonia –
   2   the condition with which most of these patients were originally diagnosed by their
   3   treating physicians). Reddy further suggested that with regard to a specific
   4   pneumonia patient, additional descriptions and conditions including “confused,
   5   elderly, ischemia, and failure to thrive” should be added to the patient’s records
   6   even though he had never seen the patient.
   7         76.    During this meeting, Reddy was critical of certain doctors who were
   8   correctly diagnosing patients. Reddy attempted to intimidate those doctors into
   9   following his directives by belittling them as “dwarves.” At one point, Reddy
  10   referred to a well-respected physician, Alvarado’s Infectious Disease Specialist, Dr.
  11   Butera, as “old fashioned” for prescribing Vancomycin and directed other
  12   physicians to “educate” Dr. Butera.
  13         77.    Generally, about 3% of pneumonias are aspiration, and according to
  14   the 2013 coding data, the reimbursement rate for aspiration pneumonia (MS-DRG
  15   177) is $11,302, while the reimbursement rate of simple healthcare acquired
  16   pneumonia (MS-DRG 179) is only $5,389. Additionally, Defendants’ practice
  17   endangers pneumonia patients because they are treated with inappropriate and
  18   medically unnecessary drugs, rather than with the medications normally used to
  19   treat simple pneumonia, such as Vancomycin.
  20         78.    At this meeting, Defendant Reddy further directed physicians to
  21   upcode “pre-renal” conditions as Vasomotor Nephropathy (“VMN”). Current
  22   Medicare coding guidelines state that VMN is renal failure, and not a “pre-renal”
  23   condition. Defendant Reddy further instructed PHS’s Emergency Department
  24   physicians to diagnose all elderly patients with any evidence of dehydration or
  25   confusion as suffering from encephalopathy or possible encephalopathy.
  26         79.    As a result of these practices, Reddy is elevating the MS-DRG weight
  27   from Non-Complicating or Comorbid Conditions to Major Complicating or
  28   Comorbid Conditions, resulting in the submission of fraudulent claims for the
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   1   purpose of generating excessive Medicare reimbursements and overpayments.
   2          80. Also during the December 13, 2013 meeting, Defendant Reddy
   3   repeatedly instructed physicians to insert the word “possible” before several
   4   diagnoses in order to receive a higher reimbursement. According to the ICD-10-
   5   CM Official Guidelines for Coding and Reporting (2013) “If the diagnosis
   6   documented at the time of discharge is qualified as ‘probable’, ‘suspected’, ‘likely’,
   7   ‘questionable’, ‘possible’ or ‘still to be ruled out’, or other similar terms indicating
   8   uncertainty, code the condition as if it existed or was established.”
   9         81.    Defendant Reddy instructed Emergency Room physicians to “set the
  10   stage for other doctors” knowing that the “possible” diagnosis was unlikely to be
  11   eliminated by a subsequent physician. Defendant Reddy repeatedly stated “possible
  12   this, possible that, possible this” as the Prime method for describing patient
  13   diagnoses, even when there was no medical basis for doing so, thereby allowing the
  14   coders to use a higher weight MS-DRG.
  15         82.    Throughout the meeting, Reddy made several statements indicating
  16   that the methods he was describing to increase DRG reimbursements were being
  17   used at all the Prime hospitals.
  18   F.    False Claims resulting from refusal to transfer or discharge patients
  19         83.    Hospitals are ordinarily entitled to full DRG payment when patients
  20   are discharged to their home following a covered inpatient stay. However, in
  21   certain circumstances involving acute care hospitals, CMS has instituted modified
  22   DRG payment policies which result in reduced DRG payments based on length of
  23   stay and discharge setting criteria. CMS instituted these payment policies so that
  24   acute care hospitals do not receive full DRG payments for Medicare patients that
  25   are discharged early and then admitted for additional medical care in other clinical
  26   settings. These DRGs are referred to as “Transfer DRGs.”
  27         84.    Transfer DRGs include a reimbursement rate that is lower than full
  28   DRG payments, because the acute care hospital is required to split the DRG
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   1   payment with the provider that treats the patient after discharge. The reduction in
   2   payment follows a formula that depends on the patient’s actual length of stay
   3   (“LOS”) and the geometric mean LOS for that DRG.
   4           85.   CMS defines a “transfer” as a discharge of a Medicare eligible hospital
   5   inpatient to (a) a non-IPPS hospital or a distinct non-IPPS unit, long-term care
   6   hospitals, psychiatric hospitals, and cancer hospitals; (b) a skilled nursing facility;
   7   or (c) to a home under a written plan for home health services beginning within
   8   three days of discharge.
   9           86.   Hospitals are responsible for identifying those discharges to which the
  10   post-acute transfer rules apply by reporting the appropriate patient discharge status
  11   code.
  12           87.   Refusing to discharge patients when appropriate raises numerous
  13   patient safety concerns. Increasing a patient’s length of stay, while under certain
  14   circumstances medically necessary, nevertheless exposes the patient to a greater
  15   risk of experiencing complications such as hospital acquired infections, medical
  16   errors and falls. For this reason, it is not in the patient’s best interest to
  17   unnecessarily extend his/her length of stay, especially when the treating physician
  18   has determined that treatment in an acute care hospital is no longer medically
  19   necessary. Unfortunately, improperly extending patients’ lengths of stay is the
  20   practice that Defendants engaged in for the sole purpose of fraudulently increasing
  21   the reimbursements received from government healthcare programs.
  22           88.   Relator is aware that from at least January 2012 through the present,
  23   Defendants have routinely and intentionally circumvented CMS’s transfer DRG
  24   policies by forcing patients who are ready to be discharged to remain at the
  25   hospitals for longer than medically necessary, rather than having the patients
  26   transferred to another appropriate health care facility. As a result, Defendants
  27   qualify for the higher reimbursement rate normally reserved for standard DRGs and
  28   can avoid the lower reimbursement rates associated with Transfer DRGs.
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   1         89.    Two forms were circulated by Prime Corporation showing handwritten
   2   notes by non-treating Prime Staff, suggesting that certain patients had been
   3   discharged too soon and how increasing those patients’ lengths of stay could avoid
   4   the fee splitting resulting from transfer DRGs.
   5         90.    On November 15, 2012, Relator attended a meeting with various case
   6   managers, including Mohammed Ibrahim, a Clinical Documentation Information
   7   Specialist (CDI) at Alvarado Hospital. Ibrahim informed Relator that, at least twice
   8   a week, Defendant Reddy provides Ibrahim with multiple case reviews of Medicare
   9   patients that Reddy believes were discharged too soon. At no time has Defendant
  10   Reddy been the treating physician for these patients.
  11         91.    Additionally, Defendant Reddy instructed Ibrahim and other CDIs to
  12   begin taking steps to avoid the Transfer DRG classification by finding ways to
  13   influence the treating physicians to increase individual patients’ LOS, thereby
  14   maximizing the hospitals’ reimbursement rate.
  15         92.    For example, Patient AA was admitted to Alvarado Hospital on
  16   November 7, 2012 and was administered services that have a geometric mean LOS
  17   of 5.1 days. The initial DRG was coded as 208, Respiratory System Diagnosis with
  18   Ventilator Support less than 96 hours. Because of the patient’s condition, the DRG
  19   was changed to 207, Respiratory System Diagnosis with Ventilator Support greater
  20   than 96 hours. The patient had a progressive course of medical issues that was
  21   treated and the patient’s DRG was finalized as 4 TRACH w/ MV 96+ hrs. OR PDX
  22   EX FACE, MOUTH, NECK W/O MAJ OR. However, when Patient AA was
  23   going to be discharged, Defendant Reddy circulated the medical billing paperwork
  24   among Ibrahim and other CDIs with handwritten notes alerting the CDIs that they
  25   should not allow Patient AA to be discharged more than three days before the target
  26   geometric LOS.
  27         93.    As a consequence of the pressure by Defendant Reddy to avoid the
  28   reimbursement fee-splitting associated with Transfer DRGs, physicians began
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   1   refusing to discharge patients. Patient AA was extubated on November 20, 2012
   2   and appeared ready for transfer to a post-acute facility. Relator is aware that on or
   3   about November 20, 2012, Dr. Neelakatan Ramineni, a physician at Alvarado
   4   Hospital, had written orders to transfer this patient to a post-acute care facility.
   5   However, upon learning that the patient was going to be discharged several days
   6   before the geometric LOS of 22.2 days, Dr. Ramineni canceled the transfer order
   7   and held the patient in Alvarado Hospital’s Advanced Care Unit (ICU step down
   8   unit ) until the full geometric LOS days were reached, thereby allowing Alvarado
   9   Hospital to receive the full reimbursement rate. Notably, Defendant Reddy had
  10   been advising Dr. Ramineni and his associate medical group members to attempt to
  11   meet the full geometric LOS at Alvarado Hospital for the purpose of receiving
  12   higher reimbursement from Medicare.
  13         94.    Dr. Richard A. Mayer, another physician at Alvarado Hospital,
  14   discovered that the tracheostomy patient had been ready for transfer and voiced his
  15   concerns regarding the obvious patient safety issues of keeping the patient longer
  16   than what was medically necessary. In spite of these objections, Dr. Ramineni
  17   refused to transfer the patient until the entire geometric LOS had been reached.
  18         95.    Relator is aware of additional fraudulent practices at Prime in order to
  19   increase patients’ LOS. Under certain limited conditions, Medicare will pay some
  20   nursing home costs for Medicare beneficiaries who require skilled nursing or
  21   rehabilitation services. To be covered, the patient must receive the services from a
  22   Medicare certified skilled nursing home after a qualifying hospital stay. A
  23   qualifying hospital stay is the amount of time spent in a hospital just prior to
  24   entering a nursing home. This is at least three days.
  25          96. At the December 13, 2013 meeting detailed in Paragraph 48, supra,
  26   Defendant Reddy instructed hospital administrators and physicians to have the
  27   nursing homes give the hospital administrators an internal sheet listing patients
  28   whose Medicare days have expired so when one of the patients gets sick, the
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   1   nursing home sends the patient to the hospital. This hospital stay can then generate
   2   a three-day qualifying stay in the hospital, extending a patient’s Medicare benefit
   3   period or beginning a new Medicare benefit period in the nursing home.
   4          97.       By promoting the transfer and admission between the nursing home
   5   and the hospital, the process allows the nursing homes to avoid lower paying daily
   6   Medi-Cal rates (~$300 per day) and receive the higher Medicare daily rates (~$600
   7   per day). Defendant Reddy promoted the use of the internal list and tracking the
   8   diagnoses explicitly to increase referrals to Alvarado Hospital and to allow the
   9   nursing homes to obtain maximum reimbursement amounts from Medicare.
  10          98.       Based on the fact that Reddy conducts similar meetings at all of the
  11   PHS hospitals, Relator believes that the same instructions have been issued and the
  12   same procedures regarding transfer DRGs and fraudulently increasing LOS have
  13   been implemented throughout the Prime healthcare system. In addition, when
  14   Reddy issues instructions or discusses hospital procedures, such as those involving
  15   LOS, Relator has observed that he routinely addresses these matters on a system-
  16   wide basis. Furthermore, as previously described, based on Relator’s observations
  17   as an insider, PHS is centrally operated and routinely uses the same processes at all
  18   its hospitals.
  19          99.       Defendants’ fraudulent activities described above (admitting patients
  20   when medically unnecessary, upcoding to increase MS-DRG reimbursements, and
  21   refusing to discharge patients) have caused the submission of false or fraudulent
  22   claims for payment which have caused monetary damages to the government. In
  23   addition, the fraudulent conduct has resulted in Defendants knowingly concealing
  24   or knowingly and improperly avoiding or decreasing an obligation to pay or
  25   transmit money or property to the Government. Defendants have received
  26   overpayments from Medicare and have failed to report and return them within the
  27   time periods specified in 42 U.S.C. § 1320a-7k(d)(2).
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   1                                             VI.
   2                               FIRST CLAIM FOR RELIEF:
   3   A.    Violations of the Federal False Claims Act, 31 U.S.C. § 3729(a)
   4         100. Relator incorporates paragraphs 1 - 99 of this complaint as though
   5   fully set forth herein.
   6         101. As described above, Defendants have submitted and/or caused to be
   7   submitted false or fraudulent claims to Medicare and other government healthcare
   8   programs by billing for medically unnecessary inpatient short stay admissions
   9   which should have been classified as outpatient/observation cases; by wrongfully
  10   increasing their DRG payments from Medicare by falsifying information
  11   concerning patients’ diagnoses, complications, and comorbidities; by improperly
  12   increasing patients’ lengths of stay; and by failing to report and return
  13   overpayments from Medicare within the required time period.
  14         102. In doing so, Defendants have violated:
  15                (1) 31 U.S.C. § 3729(a)(1)(A) by knowingly presenting, or causing to
  16                      be presented, false or fraudulent claims for payment or approval;
  17                      and/or
  18                (2) 31 U.S.C. § 3729(a)(1)(B) by knowingly making, using or
  19                      causing to be made or used, a false record or statement material to
  20                      a false or fraudulent claim; and/or
  21                (3) 31 U.S.C. § 3729(a)(1)(G) by knowingly making, using, or
  22                      causing to be made or used, a false record or statement material to
  23                      an obligation to pay or transit money or property to the
  24                      Government, or knowingly concealing or knowingly and
  25                      improperly avoiding or decreasing an obligation to pay or
  26                      transmit money or property to the Government.
  27         103. To the extent any of the conduct alleged herein occurred on or before
  28   May 20, 2009, Relator alleges that Defendants knowingly violated 31 U.S.C. §
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   1   3729(a)(1); 31 U.S.C. § 3729(a)(2); and 31 U.S.C. § 3729(a)(7) prior to
   2   amendment, by engaging in the above-described conduct.
   3         104. Because of the false or fraudulent claims made by Defendants, the
   4   United States has suffered, and continues to suffer damages.
   5

   6                                        PRAYER
   7   WHEREFORE, Relator requests that judgment be entered against Defendants
   8   ordering that:
   9         a.     Defendants pay an amount equal to three times the amount of damages
  10   the United States has sustained because of Defendants’ actions, plus a civil penalty
  11   against Defendants of not less than $5,500 and not more than $11,000 for each
  12   violation of 31 U.S.C. § 3729;
  13         b.     Relator be awarded the maximum amount allowed pursuant to 31
  14   U.S.C. § 3730(d);
  15         c.     Defendants cease and desist from violating the False Claims Act, 31
  16   U.S.C. § 3729, et seq.;
  17         d.     Relator be awarded all costs of this action, including attorneys’ fees,
  18   expenses, and costs pursuant to 31 U.S.C. § 3730(d); and
  19         e.     The United States and Relator be granted all such other relief as the
  20   Court deems just and proper.
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   1                              DEMAND FOR JURY TRIAL
   2         A jury trial is requested for all issues so triable.
   3

   4    DATED: June 30, 2017                  Respectfully submitted,

   5
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  14    DATED: June 30, 2017                  Respectfully submitted,
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  16
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                                                                            FIFTH AMENDED COMPLAINT
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